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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


 Angelina Luna and Collin Walker,
                                                              Civil Action No: 3:20-cv-1509
          Plaintiff,
                                                                         COMPLAINT
 v.
                                                                DEMAND FOR JURY TRIAL
 I.Q. Data International, Inc. dba Rent Collect Global and
 Liberty Mutual Insurance Company

          Defendants

                           NOTICE OF PENDING SETTLEMENT

Plaintiffs, Angelina Luna and Collin Walker, by and through their undersigned counsel, hereby

submit this Notice of Pending Settlement and states that Plaintiffs and Defendants, I.Q. Data

International, Inc. dba Rent Collect Global and Liberty Mutual Insurance Company have reached

a settlement of this case and are presently drafting, finalizing, and executing the settlement and

dismissal documents. Plaintiffs respectfully request sixty (60) days to complete the necessary

settlement paperwork and file the appropriate dismissal documents with the Court.


                                                      Respectfully Submitted,

                                                      SHAWN JAFFER LAW FIRM PLLC

                                                      /s/ Shawn Jaffer__
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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 26, 2020, a copy of the foregoing was electronically filed with

the Clerk of the Court, United States District Court for the Eastern District of Texas and served

via CM/ECF upon the following:

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